
The Court
(Thruston, J., absent,)
said that this was a new question, but it appeared to them that the bill was substantially set forth in the declaration, and that it might be given in evidence, and that the words “ witness my hand and seal,” and the scrawl, made in the place of a seal, might be considered as surplusage.
Mr. Hewitt then objected that the demand on the 16th of December, was too soon, and the notice to the defendant on the 18th, by mail, was too late.'
The bill fell due on Sunday, the 17th, which was the last day of grace. The demand, upon the acceptor, who resided in Alexandria, was made on Saturday, the 16th, and notice was given by mail of the 18th to the defendant, Brown, who resided in Washington.
The Court (Thruston, J., absent,) said that the demand was not too soon, nor the notice too late.
Verdict.for the plaintiff,
